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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                         )
                                                  )
         v.                                       )   Case No. 3:04-CR-71 JD
                                                  )
 DONALD E. GRIGGS                                 )

                                      OPINION and ORDER

         Now before the Court is Defendant Donald Griggs’ amended motion [DE 546] filed on

 August 6, 2010, wherein Griggs seeks grand jury materials and a copy of the indictment in this

 case. The Government filed its response [DE 548], to which Griggs replied [DE 549], and the

 matter is ripe for ruling.

                                       I. Procedural History

         On July 15, 2004, a federal grand jury sitting in South Bend, Indiana indicted Rodger Griggs,

 Julie Griggs, Shawn Shroyer, Donald Griggs, Wayne Moore, Orin Aune, and James Conway [DE

 1]. Relevant to these proceedings is the fact that Defendant Donald Griggs was charged only in

 count 7 of the indictment for conspiracy to defraud the United States, in violation of 18 U.S.C. §

 371. Defendants Aune and Conway pled guilty and a jury convicted the remaining defendants of

 all charges, which revolved around several schemes to defraud investors.

         On November 30, 2006, Donald Griggs was sentenced to a term of sixty (60) months of

 imprisonment, two (2) years of supervised release, and was ordered to pay $5,243,864.74 in

 restitution [396]. The Seventh Circuit affirmed all of the convictions, United States v. Griggs, 569

 F.3d 341 (7th Cir. 2009), and Donald Griggs’ petition for a rehearing on his request for a writ of

 certiorari was denied by the Supreme Court on April 5, 2010, Griggs v. United States, 130 S.Ct.

 2368 (2010).
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        On July 22, 2010, Donald Griggs filed a pro se letter [DE 544], which was liberally

 construed as a motion requesting that items be provided to him, including: (1) a copy of the

 indictment; (2) a list of the dates and times that the grand jury was in session relevant to his case,

 and the name of the United States attorney involved in the same; and, (3) a transcript of the grand

 jury proceedings, pursuant to Fed. R. Crim. P. 6(e)(3)(E). The Court denied Griggs’ request with

 leave to file an amended motion that established the requisite showing consistent with United States

 v. Campbell, 324 F.3d 497, 498-99 (7th Cir. 2003), that specified the particular documents or parts

 of the grand jury proceeding needed, and that explained the particularized need for the documents

 [DE 545].

        On August 6, 2010, Donald Griggs filed an amended motion [DE 546], and another request

 for a copy of his indictment [DE 547]. Therein, Griggs posits that the grand jury materials and the

 indictment are needed in order to prepare his timely petition under 28 U.S.C. § 2255,1 based on the

 following claims: (1) Griggs has discovered “many improprieties by the United States Attorney’s

 Offices within the Seventh Circuit Court system as regards to Grand Juries and the way they are

 conducted” which causes Griggs to question whether a violation of his constitutional rights

 occurred; (2) Griggs was allegedly informed by his defense counsel that the grand jury information



        1
          Griggs clearly and unambiguously asserts that the materials are needed to prepare a
 future § 2255 petition [DE 544, 546]. Accordingly, the Court declines to construe the motion as
 a mislabeled § 2255 petition, because Griggs is not directly challenging his conviction and
 sentence, but he intends to do so in a future § 2255 petition. See United States v. Scott, 414 F.3d
 815, 816-17 (7th Cir. 2005) (holding that the jurisdictional failing of not having the circuit’s
 permission to pursue a successive collateral attack “makes it unnecessary for . . . [the Seventh
 Circuit] to consider whether the lack of a pending case in which the requested information could
 be used is a second jurisdictional failing”). Griggs realizes that he only gets “one chance to
 include all of the issues and possible issues” in the § 2255 petition, and he alleges that the grand
 jury materials are needed to support the claims he intends to raise in the petition [DE 549 at 2].

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 was not previously produced before trial, and thus, a Brady2 violation or a Jencks Act violation3

 occurred because the information could have been used to assist defense counsel in the cross-

 examination of the witnesses during trial; and (3) the grand jury materials “will indicate that an

 essential element of the Crime for which the Defendant was indicted, tried, and convicted, that of

 Conspiracy under 18 U.S.C. § 371, was not met,” namely that Griggs made an agreement to conspire

 with one or more members of the conspiracy. Griggs relies on Dennis v. United States, 384 U.S. 855

 (1966), for his proposition that the grand jury proceedings should be ordered disclosed in this case

 [DE 546 at 2].

        The Government timely filed a response objecting to Griggs’ request [DE 548]. The

 Government argues that although the district court has the discretion to grant discovery upon the

 showing of “good cause” in the context of a habeas corpus proceeding, see Rule 6(a), Rules

 Governing Section 2255 Proceedings for the United States District Courts; here, Griggs’ mere

 speculation that the Government acted inappropriately and/or withheld evidence is not a sound basis

 to direct discovery and disclose grand jury matters. Id. Further, the Government asserts that Griggs

 has failed to establish any particularized need that would allow access to the grand jury process. Id.

                                            II. Discussion

 A)     Grand Jury Materials

        Federal Rule of Criminal Procedure 6(e) codifies the centuries-old requirement that grand

 jury proceedings be kept secret. In re EyeCare Physicians of Am., 100 F.3d 514, 518 (7th Cir. 1996)

 (citation omitted). Our judicial system has recognized that the proper functioning of grand jury


        2
         Brady v. Maryland, 373 U.S. 83 (1963).
        3
         See 18 U.S.C. § 3500(e)(3).

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 proceedings depends upon their absolute secrecy. Id. By not safeguarding the confidentiality of

 grand jury proceedings, many prospective grand jury witnesses would be hesitant to come forward

 voluntarily and would be less likely to testify fully and frankly, as they would be open to retribution

 as well as to inducements. Id.

        However, the requirement of secrecy has its exceptions. Rule 6(e)(3)(E) states in relevant

 part: “The court may authorize disclosure—at a time, in a manner, and subject to any other

 conditions that it directs—of a grand jury matter: (i) preliminarily to or in connection with a judicial

 proceeding; [or] (ii) at the request of a defendant who shows that a ground may exist to dismiss the

 indictment because of a matter that occurred before the grand jury.

        The United States Supreme Court has instructed that parties seeking grand jury transcripts

 have the burden of showing that the material they seek is needed to avoid a possible injustice in

 another judicial proceeding, that the need for disclosure is greater than the need for continued

 secrecy, and that their request is structured to cover only material so needed. Douglas Oil Co. v.

 Petrol Stops Northwest, 441 U.S. 211, 222-23 (1979). One seeking disclosure of grand jury

 proceedings must demonstrate more than relevance, as “secrecy is not broken ‘except where there

 is a compelling necessity’ for the material.” Hernly v. United States, 832 F.2d 980, 984 (7th Cir.

 1987) (quoting United States v. Procter & Gamble Co., 356 U.S. 677, 682 (1958)). Such necessity

 “must be shown with particularity.” Id.

        Furthermore, in considering the effects of disclosure on grand jury proceedings, courts must

 consider “not only the immediate effects upon a particular grand jury, but also the possible effect

 upon the functioning of future grand juries.” Douglas Oil, 441 U.S. at 222-23. Thus, even after the

 grand jury’s term ends, the interests in grand jury secrecy, although reduced, are not eliminated.


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 Douglas Oil, 441 U.S. at 222-23; Hernly, 832 F.2d at 985. As the considerations justifying secrecy

 become less relevant, a party asserting a need for grand jury transcripts will have a lesser burden in

 showing particularized need. Id.; See Lucas v. Turner, 725 F.2d 1095, 1107 (7th Cir. 1984) (“due

 to the dangers created by unwarranted disclosure to the safety and reputations of both grand jury

 witnesses and those under investigation, and indeed to the continued viability of the grand jury as

 an investigative tool, we do not believe the mere passage of time has significantly diminished the

 need for preserving the secrecy of the grand jury testimony”).

        Even in a case where a particularized need is established “the secrecy of the proceedings is

 lifted discretely and limitedly.” Lucas, 725 F.2d at 1101 (quoting Procter & Gamble, 356 U.S. at

 683). Our circuit has held that in determining whether the party requesting disclosure has met his

 burden, the district court has ‘substantial discretion.’ Lucas, 725 F.2d at 1101 (citations omitted).

        As discussed, Griggs represents that the grand jury materials and indictment are needed to

 avoid a possible injustice in proceeding with his § 2255 petition. Griggs suggests that the dangers

 of disclosure are outweighed by the benefits of releasing the information because he questions

 whether, during the course of the grand jury proceedings, a violation of his constitutional rights

 occurred on account of Government improprieties, the Government committed a Brady or Jencks

 Act violation, and/or the Government failed to present evidence on every element of his conspiracy

 charge. It is on these grounds that Griggs specifically requests “the Grand Jury Transcripts for the

 underlying case, especially in regards to this Defendant and the witness testimony regarding this

 Defendant” [DE 546 at 2].

        1)      Whether There Exists a Particularized Need to Disclose

        The Court must first consider whether the reasons Griggs provides for requesting the grand


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 jury materials are sufficient to demonstrate a particularized need.

        As to Griggs’ claim that United States Attorney office improprieties have occurred, Griggs

 does not identify the source of his information, describe the nature of the improprieties, or explain

 the facts which show how his rights were violated in this case by the alleged unspecified circuit-

 wide improprieties. Griggs relies on rumors relative to the overall grand jury system in the Seventh

 Circuit, and has not pointed to anything in the record which might suggest that the prosecutor in his

 case engaged in improper conduct before the grand jury. United States v. Canino, 949 F.2d 928, 943

 (7th Cir. 1991) (citing United States v. Edelson, 581 F.2d 1290, 1291-92 (7th Cir. 1978) (mere

 unsupported speculation of possible prosecutorial abuse does not meet the particularized need

 standard)). Although Griggs does mention that the prosecutor may have used misleading terms and

 phraseology [DE 549 at 2], he does not identify the terms allegedly used or explain how the use of

 the terms may have affected the grand jury’s decision to indict. Simply put, Griggs does not give

 any factual details which could remotely sustain a showing of particularized need. Because Griggs’

 claim is based on nothing more than an unsupported hunch that the United States Attorneys in this

 circuit have “taken liberties which are improper regarding grand juries” [DE 549 at 1], a

 particularized need for the grand jury materials has not been established.

        As to the alleged Brady and Jencks Act violations, the government violates the Brady rule

 when it deliberately or inadvertently withholds evidence that is material and favorable to the

 defense. United States v. Mahalick, 498 F.3d 475, 478 (7th Cir. 2007). The Brady duty extends to

 impeachment evidence as well as exculpatory evidence. Mosley v. City of Chicago, 614 F.3d 391,

 397 (7th Cir. 2010). Relative to the Jencks Act, it provides that “witness statements in the

 possession of the United States which relate to the subject matter as to which the witness testifies


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 shall be turned over to the defendant for examination and use.” United States v. Elem, 269 F.3d 877,

 882 (7th Cir. 2001) (quoting United States v. Radix Laboratories, Inc., 963 F.2d 1034, 1039 (7th Cir.

 1992)). Grand jury testimony by government witnesses who testified at trial are properly classified

 as Jencks Act material. 18 U.S.C. § 3500(e)(3) (including statements “made by said witness to a

 grand jury”).

         However, Griggs is unable to establish that Brady material was suppressed, because he does

 not specify what evidence he believes should have been disclosed or explain why the evidence was

 not available to him through the exercise of due diligence. United States v. O’Hara, 301 F.3d 563,

 569 (7th Cir. 2002) (citing Boss v. Pierce, 263 F.3d 734, 740 (7th Cir. 2001) (evidence is suppressed

 for Brady purposes only if the prosecution failed to disclose the evidence before it was too late for

 the defendant to use it, and the evidence was not otherwise available to the defendant through the

 exercise of reasonable diligence)). Nor can Griggs complain about the suppression of Jencks Act

 material when he admits that he never previously requested the same. United States v. Knapp, 25

 F.3d 451, 461 (7th Cir. 1994) (citing United States v. Spatuzza, 331 F.2d 214, 218 (7th Cir. 1964)

 (defendant must request production of materials under the Jencks Act)). Consequently, no violations

 occurred as to Brady or Jencks Act material.

         Aside from these shortcomings in Griggs’ argument, there lies a more fundamental problem

 with his request. Despite admitting that he has reread his entire trial transcript, Griggs identifies no

 facts which would suggest that the Government engaged in prosecutorial misconduct or the

 withholding of certain evidence in his case. For instance, he does not identify a single trial witness

 called by the Government wherein cross-examination was potentially affected by a Brady or Jencks

 Act violation resulting in prejudice. See Elem, 269 F.3d at 882 (defendants’ argument that a Jencks


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 Act violation occurred failed for the same reasons as their Brady claim because no prejudice was

 shown by the government’s failure to produce the grand jury testimony). Instead of indicating with

 particularity how certain trial testimony was potentially inconsistent with grand jury testimony or

 how a constitutional right was violated, Griggs’ only expressed a belief that by reviewing the grand

 jury proceedings, he might find an instance where his defense counsel could have objected to a

 witness’s testimony or further cross-examined the witness [DE 549 at 1]. These statements show

 no particularized need for grand jury materials, but rather only a generalized hope that Griggs might

 find some defect in the grand jury proceedings.

        Essentially, Griggs characterizes the entire grand jury process which concerns him as

 “exculpatory evidence,” so that he may engage in a fishing expedition for such helpful evidence.

 The Court finds that Griggs’ argument based on evidentiary violations amounts to nothing more than

 unsupported speculation which is not enough to constitute a particularized need for the disclosure

 of the grand jury proceedings. Canino, 949 F.2d at 943 (citing Edelson, 581 F.2d at 1291-92); see

 also United States v. Jumah, 599 F.3d 799, 809 (7th Cir. 2010) (a defendant cannot demand a new

 trial based on mere speculation or unsupported assertions that the government suppressed evidence);

 United States v. Roberts, 534 F.3d 560, 572 (7th Cir. 2008) (mere speculation that a government file

 may contain Brady material is not sufficient to require remand for in camera inspection, much less

 reversal for a new trial) (citations omitted). Because Griggs has only offered mere speculation and

 conjecture that evidence introduced during the grand jury proceedings was materially favorable and

 suppressed, the Court finds no particularized need to order disclosure.

        Griggs also raises the argument that one of the elements of the conspiracy charge brought

 against him was missing. Griggs claims that he has reviewed his trial transcripts and cannot find


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 any testimony made by a Government witness stating that Griggs agreed to conspire with the other

 defendants [DE 549 at 4]. This argument also fails to raise a particularized or compelling need for

 the grand jury materials for several reasons.

        First, the Seventh Circuit previously rejected the argument that the trial evidence was

 insufficient to sustain the convictions. Griggs, 569 F.3d at 343 (noting that the defendants “claimed

 not to have known that they were participating in a fraudulent scheme . . . [b]ut avoidance behavior

 is itself evidence of guilty knowledge”). Second, as to the nature of the evidence presented to the

 grand jury, Griggs presents nothing but unsupported speculation that it was insufficient to support

 an indictment, and this will not overcome the presumption of regularity that attaches to grand jury

 proceedings, nor is it enough to require disclosure. Canino, 949 F.2d at 943 (mere unsupported

 speculation of possible prosecutorial abuse does not meet the particularized need standard); United

 States v. Lisinski, 728 F.2d 887, 893 (7th Cir. 1984) (finding that the defendant’s unsupported

 speculation that, possibly, insufficient evidence was presented to the grand jury to sustain the

 indictment failed to overcome the presumption of regularity accorded to grand jury proceedings, or

 to demonstrate the “compelling necessity” necessary to require disclosure of grand jury

 proceedings). Third and finally, even if such an error had occurred, it would be harmless given

 Griggs’ jury conviction at trial. See United States v. Rosario, 234 F.3d 347, 352 (7th Cir. 2000)

 (noting that any such error in the presentation of evidence before the grand jury would be harmless

 given the jury conviction at trial which indicates a proper grand jury proceeding would have still

 yielded an indictment) (citations omitted).

        Based on the foregoing analysis, Griggs is unable to provide the detailed and concrete

 averments necessary to compel disclosure for the successful filing of a § 2255 petition. See Lucas,


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  725 F.2d at 1102. As such, the Court finds that without a showing of a particularized need for the

  requested grand jury materials, Griggs’ request must be denied. See Campbell, 324 F.3d at 498-99.

          2)      Whether the Need for Disclosure is Greater than the Need for Continued Secrecy

          This Court also declines to order disclosure of the grand jury proceedings because Griggs

  is unable to show that the need for disclosure is greater than the need for continued secrecy.

  Douglas Oil, 441 U.S. at 222-23. Griggs states that he needs the documents because he “believes

  that injustices may be perpetrated while he continues to try to prove his innocense . . . [and he] needs

  to verify with the information requested from the Grand Jury records” the violations that occurred,

  which will show that he is an innocent man [DE 549 at 2-3].

          Again, Griggs merely alleges, without setting forth any specific facts, that he believes the

  evidence and witness testimony presented to the grand jury would contain information favorable to

  his case, and he needs to verify the same. Yet, “[g]rand jury testimony is not a substitute for proper

  discovery and should not be used as a panacea for improper, inadequate and untimely discovery.”

  Lucas, 725 F.2d at 1106. And although the Court takes into consideration the fact that the grand jury

  in this case was discharged from its duty several years ago, the Court does not believe that the mere

  passage of time has significantly diminished the need for preserving the secrecy of the grand jury,

  when, as discussed herein, the reasons to lift the veil of secrecy are insufficient as they are based on

  mere speculation. See United States v. Ferreboeuf, 632 F.2d 832, 835 (9th Cir. 1980) (the defendant

  was not entitled to disclosure because mere unsubstantiated speculative assertions of improprieties

  in the proceedings do not supply the particular need required to outweigh the policy of grand jury

  secrecy).

          In a case like this, where there is no legitimately stated need for disclosure founded upon


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  identifiable facts, the continued viability of the grand jury as an investigative tool outweighs the

  alleged need for disclosure. Accordingly, disclosure of the grand jury proceedings is not permitted.

         3)       Whether the Request is Structured to Cover Only the Material Needed

         Griggs’ request must also be denied because it is not structured to cover only material so

  needed. Griggs wants access to the entirety of the grand jury proceedings relevant to him in the off

  chance that he might turn up helpful evidence. Specifically, Griggs asks for the “dates and times

  that the Grand Jury was seated; the United States Attorney’s Office’s representatives during those

  sessions for the period from January 1, 2003 until January 1, 2005; the name of the Grand Jury

  Foreperson; and the Grand Jury Transcripts for the underlying case, especially in regards to this

  Defendant and the witness testimony regarding this Defendant” [DE 546 at 2]. Griggs also states

  that “he should be entitled to examine all of the information and witnesses who have either testified

  for or against him in the preparation of his defense, which would include Grand Jury witnesses

  statements which might be classified as either Jenck’s (sic) or Brady material” [DE 549 at 2].

         Griggs made no attempt to limit his request to particular grand jury testimony. Rather,

  Griggs merely sought wholesale disclosure of all grand jury materials relative to him, and attempted

  to justify his need for the documents on the basis that he must “verify” which violations occurred.

  In reality, Griggs’ request is nothing but a request for authorization to engage in a fishing expedition

  with the hope that he might turn up relevant evidence. See In re EyeCare Physicians of Am., 100

  F.3d at 518 (citing Lucas, 725 F.2d at 1101). As the Seventh Circuit has concluded, “a demand for

  all transcripts of all testimony is a fishing expedition, which Rule 6(e) forbids.” Campbell, 324 F.3d

  at 499. Not only has Griggs failed to tailor his request for only the grand jury transcripts so needed,

  but his excuse that he needs to verify the contents of the grand jury proceedings does not adequately


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  explain why he is unable to structure his request in a limited fashion. Because the particularity of

  the materials sought is wholly lacking from Griggs’ request, it must be denied.

         4)      Dennis v. United States, 384 U.S. 855 (1966)

         To the extent that Griggs relies on Dennis v. United States, 384 U.S. 855 (1966) for his

  position that disclosure is proper, the Court finds the case distinguishable. In Dennis, it was held

  to be an abuse of discretion for a district court in a criminal trial to refuse to disclose to the

  defendants the grand jury testimony of four key government witnesses, who some years earlier had

  appeared before a grand jury investigating activities of the defendants and whose trial testimony was

  largely uncorroborated. Dennis, 384 U.S. at 872-73. In Dennis, the defense moved for production

  or in camera inspection of the grand jury testimony of the four (out of eight) government witnesses

  at the first trial; but, the request was denied. Id. at 868. On retrial, the defense objected to the

  testimony of the government witnesses on the ground that the defendants still had not been permitted

  to examine, or have the trial judge examine, the transcript of the witnesses’ grand jury testimony;

  but, the request was denied again. Id. On appeal, the Government conceded that the importance of

  preserving the secrecy of the grand jury minutes was minimal, and admitted that based on the

  persuasiveness of the arguments advanced in favor of disclosure, it could not fairly be said that the

  defense failed to make out a ‘particularized need.’Id. at 871-72. Importantly, the defendants in

  Dennis had shown it to be likely that the witnesses’ testimony at trial was inconsistent with their

  prior grand jury testimony. Id. at 873. Ultimately, the Supreme Court concluded that “it is rarely

  justifiable for the prosecution to have exclusive access to a storehouse of relevant fact[s],” and it

  could not accept the view that it was “safe to assume no inconsistencies would have come to light

  if the grand jury testimony had been examined” as there was “no justification for relying upon the


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  assumption.” Id. at 873-74.

         The circumstances of Dennis are unlike the circumstances presented in the instant case.

  Here, Griggs does not establish that the evidence he seeks was previously requested at trial and

  denied, or that it was not available to him through the exercise of due diligence. Also unlike the

  defendants in Dennis, Griggs does not narrow his request to the testimony of certain witnesses, and

  he has not demonstrated to this Court that particular trial testimony is likely to vary from grand jury

  testimony. Furthermore, instead of conceding the argument, the Government maintains that Griggs’

  unfounded allegations do not show a particularized need outweighing the need to preserve the

  secrecy of the grand jury proceedings—and the Court agrees. To reiterate, Rule 6(e) requires that

  in order for a party to gain access to normally inaccessible transcripts of proceedings before the

  grand jury, a defendant must show that “a ground may exist to dismiss the indictment.” Fed. R.

  Crim. P. 6(e)(3)(E). Griggs does not specify what particular ground may exist to dismiss the

  indictment, instead, he only speculates that the entirety of the grand jury proceedings may contain

  useful information. Griggs has not demonstrated a compelling or particularized need to examine the

  grand jury materials he requests. In fact, if the Court were to accept Griggs’ conclusory allegations,

  without more, essentially any defendant would be allowed to access the grand jury proceedings

  without the required showing—exactly what Rule 6(e) and the Seventh Circuit instruct against.

  “Bald assertions cannot replace the specific and detailed averments of fact sadly lacking in this

  case.” Lucas, 725 F.2d at 1105 (emphasis added).

         Given the public trial and the proceedings before the Seventh Circuit in this case, Griggs has

  not established that he needs the grand jury materials to promote the proper administration of

  criminal justice. When all is considered, the Court has no reason to believe that if the facts were


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  more fully developed and disclosure was ordered, Griggs would be able to demonstrate that he is

  entitled to relief on the basis presented. See Matta-Ballesteros v. Henman, 896 F.2d 255, 259 (7th

  Cir. 1990) (good cause for discovery in a habeas proceeding does not exist when the facts alleged

  do not provide a basis for relief). Because Griggs’ sweeping request for documents based on

  factually unsupported allegations does not establish a particularized need for disclosure that is

  greater than the need for continued secrecy, the Court is not permitted to give authorization for

  grand jury disclosure, nor will it sua sponte review the grand jury proceedings to verify the alleged

  baseless improprieties and shortcomings. See Jumah, 599 F.3d at 810 (“[t]he district court certainly

  was not obligated to conduct an in camera review [of undisclosed Brady or Giglio4 material] sua

  sponte”); Lucas, 725 F.2d at 1109 (once a showing of particularized need is made, then the district

  court will be required to view some of the grand jury materials in camera before making a

  determination of whether or not disclosure is warranted for specific materials). Based on the failure

  to meet the requisite showing, the Court will not lift the veil of secrecy even “discretely and

  limitedly” for use in subsequent proceedings. Lucas, 725 F.2d at 1101.

  B)      Indictment

          Of final note, Griggs also requested a copy of his indictment [DE 547], again for the

  purposes of preparing his § 2255 petition. Because the precise claims that Griggs will ultimately

  raise in any future § 2255 petition is unknown at this time, and in light of Griggs’ representation that

  he has been unable to obtain a copy of his indictment from his trial counsel, the Court will grant

  Griggs’ request in an attempt to ensure that this indigent Defendant has an adequate opportunity to

  present his claims fairly. See Rush v. United States, 559 F.2d 455, 458-59 (7th Cir. 1977).


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           Giglio v. United States, 405 U.S. 150 (1972).

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                                           III. Conclusion

         Griggs’ sweeping request for grand jury materials does not adequately justify the response

  he seeks, and the request is DENIED [DE 546]. Griggs’ request for a copy of his indictment is

  GRANTED [DE 547], and the Clerk is DIRECTED to send Griggs a copy of the indictment [DE 1]

  to his mailing address free of charge.

         SO ORDERED.

         ENTERED: November 3, 2010


                                                     /s/ JON E. DEGUILIO
                                               Judge
                                               United States District Court




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